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                 DECLARATION OF NIKOLAOS NIKIFORAKIS
                              Pursuant to 28 U.S.C. 1746
                             Qualifications and Experience
1. My name is Nikolaos (Nick) Nikiforakis. I have a Bachelor’s Degree, a Master’s Degree,
   and a PhD, all in Computer Science. My area of research is computer security and
   privacy. I am an Assistant Professor in the Department of Computer Science at Stony
   Brook University and I am the director of the PragSec lab, where my students and I
   perform research in security and privacy. I am the author of more than 40 academic
   publications in this subject area, which have been cited more than 1100 times. I serve in
   multiple program committees every year, planning and presenting at the most prestigious
   computer security conferences. I am the Program Committee co-chair of the Symposium
   on Electronic Crime Research (eCrime) for 2017. The eCrime conference is a peer-
   reviewed conference dedicated exclusively to cybercrime studies.

2. I am also the author of the largest technical study of technical support scams (published
   in the 24th Network and Distributed Systems Symposium, 2017) where my students and I
   collected and analyzed vast amounts of data on technical support scams. In addition to
   collecting domain names and phone numbers used by technical support scammers, we
   also interacted with 60 different scammers while recording the techniques that they used
   to convince users that their computers were infected with malware, to then convince the
   consumers to pay substantial sums for unnecessary services.

3. Based on my experience, training, and education, as demonstrated above and as
   summarized in my current curriculum vitae, which is attached hereto as Nikiforakis
   Attachment A, I consider myself to be an expert in computer security and privacy, as
   well as an expert in identifying scammers posing as qualified and certified technical
   support providers.

4. Based on my review of the evidence provided by Federal Trade Commission (“FTC”)
   staff in this matter, Troth Solutions engages in conduct that is consistent with my own
   interactions with technical support scammers. As discussed in more detail below, Troth
   Solutions utilizes misleading pop-up ads, gains remote access to consumers’ computers
   and then uses information from Windows utilities to falsely claim that the computers are
   suffering from security or performance issues. Based on these misrepresentations, Troth
   Solutions convinces consumers that they are in urgent need of technical support, and that
   the consumers should pay Troth Solutions substantial sums for what is actually
   unnecessary technical support.




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                           Analysis of FTC Undercover Calls
                                    Pre-Call Analysis
5. On January 12, 2017, via FTC’s SecureMail platform, I received six audio files of the
   conversations between the FTC Investigator Roberto Menjivar and various
   representatives of Troth Solutions. Mr. Menjivar used an undercover identity to conduct
   an undercover investigation of the purported services provided by Troth Solutions. In
   addition to these six audio files, I also received official transcriptions of these six audio
   files and a video file showing the screen of the FTC computer through the end of the first
   call. Table 1 shows information about these calls and their transcriptions. I have redacted
   portions of the file names to maintain the confidentiality of the undercover identity used
   by Investigator Menjivar.

6. On February 1, 2017, I received an encrypted hard drive from the FTC containing
   forensic images captured from the computer used by Investigator Menjivar during his
   undercover investigation of the services provided by Troth Solutions. Table 2 shows the
   disk images contained in the FTC’s hard drive together with a brief description of each
   image.

7. The aforementioned hard drive also contained the following:

      Video files showing the screen of the computer used to conduct the undercover calls
      Data captured by Wireshark, a packet analyzer used during each undercover call to
       monitor network traffic between Troth Solutions and the FTC’s computer
      Memory captured after the end of the undercover call

8. To establish whether the machine that the Troth Solutions representative examined was
   free from malware, a term that I use to describe viruses and any other type of malicious
   software, I inspected the 03-Alias.E01 disk image which was the baseline image after it
   was customized by the FTC. The Troth Solutions representative called Ron inspected this
   exact same machine during the first call from the FTC investigator.

9. Using both manual (inspecting startup programs, registry, browser add-ons, and installed
   programs) as well as automated means (scans with two separate antivirus programs,
   Microsoft Windows Defender and MalwareBytes AntiMalware software) I found no
   evidence of any malware present on the machine. My search was considerably more
   thorough than the one performed by the Troth Solutions representatives and I can with
   certainty state that the issues claimed to be discovered by the Troth Solutions
   representatives, which are described below in my Call and Transcript Analysis, were not
   present.




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 Table 1. Details of the audio files and transcriptions of the calls between the FTC and Troth
                                            Solutions

Index Transcription file name               Corresponding audio file        Duration of audio
                                                                            file
1         01 XXXXX UCP 8005455895           WS330436.WMA                    00:51:11
          12.08.16.pdf
2         02 XXXXX UCP 8005455895           WS330437.WMA                    00:12:43
          12.08.16.pdf
3         03 XXXXX UCP 8005455895           WS330438.WMA                    00:16:47
          12.08.16.pdf
4         04 XXXXX UCP 8005455895           WS330440.WMA                    00:18:37
          12.08.16.pdf
5         05 XXXXX UCP 8005455895           WS330441.WMA                    00:24:05
          12.08.16.pdf
6         XXXXX Voicemail                   WS330452.WMA                    00:02:45
          8005455895 12.08.16.pdf


          Table 2. Forensic disk images available in the hard drive mailed by the FTC

Image Name                                          Description
Call #1 / 01-OS Baseline Only.E01                   Forensic image of baseline system configuration
                                                    used for call to Troth Solutions
Call #1 / 02-Baseline Copy.E01                      Forensic duplicate of the above image
Call #1 / 03-Alias.E01                              Forensic image created after the customization of
                                                    the baseline image used for the call to Troth
                                                    solutions
Call #1 / 04-TS-1723018-01-AfterCall.E01            Forensic image created after the completion of the
                                                    call by Troth solutions
Call #1 / 05-AfterCall(Final).E01                   Forensic image created after the second call from
                                                    Troth Solutions where a Troth Solutions
                                                    representative installed one final program (Troth
                                                    AV Shield)


                                 Call and Transcript Analysis
    10. In this first call (recording file WS330436.WMA, transcription file 01 XXXXX UCP
        8005455895 12.08.16.pdf), the FTC investigator calls Troth Solutions number 1-800-
        545-5895 where he is greeted by a representative who introduces himself as David. The
        FTC investigator describes to David that he saw an error message on his computer, which
        instructed him to call this specific number. David then transfers the FTC investigator to
        another Troth Solutions representative called Ron who asks some more questions about
        the investigator’s computer and the error message that he received.



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11. Even before having a single look at the investigator’s computer, Ron claims the following
    (excerpt from page 8 of transcription file 01 XXXXX UCP 8005455895 12.08.16.pdf):
   RON: All right. Well, because the problems that you’re telling me right now, this kind of
   problem only comes on a computer if you have some kind of security alert like on your
   device. That is the only reason when you have these kind of issues on it.
   MR. MENJIVAR: I don't -- I don't understand.
   RON: Like if you have some kind of a security problem or I would say there are any kind
   of issues related with any of your other things on your computer, then you would
   automatically face these kind of problems with it.
12. The terms “security alert” and “security problem” are very generic terms that cannot
    convey any one specific meaning. In addition, the representative could have no legitimate
    way of figuring out that a customer’s computer has security issues just because of an alert
    that the customer saw and described to the representative over the phone. In this
    instance, of course, the FTC Investigator had not even seen the alert.

13. Ron explains to the investigator that he needs to access his machine to further diagnose
    the problem. He guides the investigator to the website www.support.me where the
    investigator downloads a remote administration tool. This tool allows the Troth Solutions
    representative Ron to have full access to the investigator’s computer.

14. Once he gains access, the representative opens up the windows command line tool
    (cmd.exe), navigates to the root directory of the hard drive C:\ and then executes the
    command “tree”. Tree is a verbose directory listing command which shows all the files
    and folders present in the directory in which it was executed. The Troth Solutions
    representative, however, claims that he is running “a quick Microsoft scan” which will
    show “all the softwares [sic] that you have in this computer.” (Page 15 of transcription
    file 01 XXXXX UCP 8005455895 12.08.16.pdf.) This is a clear misrepresentation of
    what the tree command does.

15. Once the program ends, the Troth Solutions representative draws attention to the last two
    statements that are supposedly printed by the program he just ran. Figure 1 shows that
    output with two red arrows added to show the output to which Ron refers. These
    statements are “security expired” and “network hacked.” While a non-technical person
    may believe that these statements came from the “scanning” program the representative
    claims to have just executed, a person knowledgeable with running programs from the
    command line will notice that these statements are not printed by the program. Rather,
    they were typed in by the Troth Solutions representative while the tree program was
    printing its output. Even putting aside the fact that the tree command, as described earlier,
    will never print these messages because it is not a security scanner, one can see that the
    operating system is showing the following two errors right after the sentences pointed to
    by the red arrows:

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          ‘security’ is not recognized as an internal or external command, operable program or
           batch file
          ‘network’ is not recognized as an internal or external command, operable program or
           batch file




Figure 1. Screenshot after running the tree command on the investigator's machine. Statements
with red arrows are misleading statements typed by the Troth Solutions representative
   16. These errors are generated because the phrases “security error” and “network hacked”
       were typed in by the Troth Solutions representative who followed each phrase by the
       “Enter” key. Following standard command-line protocols, Windows tried to find and
       execute the program “security” with a command line argument “expired” and then the
       program “network” with the command-line argument “hacked”. Neither of these are
       programs that are present on a typical Windows system and thus the command-line
       presents the aforementioned errors. In our study of technical support scams (published in
       the 24th Network and Distributed Systems Symposium, 2017) my students and I observed
       that 40% of all the scammers we interacted with, used the same technique to try to
       convince us that our test machines were infected with malware (when in fact, as in this
       case, they were not).
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17. Even without any more information, at this point, it is clear not only that the Troth
    Solutions representative is misrepresenting the function of the “tree” command to match
    his narrative (that of the investigator’s machine having security problems) but in fact he
    manufactures error messages meant to convince the investigator that his computer’s
    security is “expired” (which in itself is a meaningless statement, because a computer’s
    “security” is a property, and unlike software, cannot be described as “expired”) and that
    his network is “hacked.”

18. After showing the error messages that he himself typed after the output of the “tree”
    command, the Troth Solutions representative runs the msconfig program, which is a
    Windows tool that shows information about the startup programs running in Windows
    and the Windows services that are currently running or are stopped. The representative
    goes to the “Services” tab where he shows specific Microsoft services that are listed as
    “Stopped” and then tells the investigator that these are stopped because they have expired
    and need to be updated (Figure 2). This is a misrepresentation of what these services are
    and why they are stopped. All Windows installations come with services that are, by
    default, not running as a way of preserving resources. These services are not “security
    softwares [sic]” (page 17 of the transcription) and they do not “expire.”




                  Figure 2. Services in msconfig that appear as stopped.
19. The Troth Solutions representative also claims that if this “security” is not installed, the
    investigator’s computer will be “blocked […] because without the security, you’re not
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   authorized to do any kind of banking, shopping, anything personal on your device.” (Page
   17 of transcription file 01 XXXXX UCP 8005455895 12.08.16.pdf.) Even if these
   services were somehow related to security (which they are not), a user can still use his
   own computer even if they have expired. The Troth Solutions representative is falsely
   claiming that the computer will be blocked to create a sense of urgency, which he can
   take advantage of in order to later charge the investigator $499 for unnecessary services.
   In the aforementioned study of technical support scams, my students and I observed that
   67% of all the scammers we interacted with, used the same technique to try to convince
   us that our test machines were infected with malware (when in fact, as in this case, they
   were not).
                                    Post-Call Analysis
20. To understand the services rendered by the Troth Solutions representatives, I analyzed
    the videos and post-call evidence and identified what the agents did and what software
    was installed:
     Download and run malwarebytes anti-malware free trial version
             No virus or malware was discovered
             The software was later uninstalled before the agent claimed to have finished her
                work
     Execute Windows utilities for finding and repairing corrupt files
             No issues discovered
     Added AdblockPlus to Chrome and Firefox
     Download and execute Junkware removal tool from Malwarebytes
     Download, install, and execute Microsoft Security Essentials
     Download, install, and execute CCleaner
     Download, install, and execute Troth Privacy Shield

21. Notably, the results of the Malwarebytes scan showed that there was no malware present
    on the machine, directly contradicting the representatives’ earlier statements. Most of the
    software that was downloaded is freely available software (either completely free or in
    trial forms) from reputable vendors:

      MalwareBytes Anti-malware is an antivirus program that can identify and remove
       viruses and malware
      MalwareBytes Junkware removal tool removes adware and potentially unwanted
       programs
      CCleaner removes temporary files and fixes registry issues
      Microsoft Security Essentials is an antivirus program that can identify and remove
       viruses and malware
      AdblockPlus is ad-blocking software that can be installed in modern web browsers




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22. The only proprietary software that the representative downloaded and installed is “Troth
    Privacy Shield” which is software that Troth Solutions has either developed in house, or
    has purchased as a generic program and has the rights to brand it. The latter is often
    referred to as a “white label” product. While I saw no evidence that the software was
    malicious, four popular antivirus products currently flag it as malware, which is a cause
    for concern (Figure 3).




 Figure 3. Troth Privacy Shield marked as malware by four popular antivirus products.
23. Finally, the installation of ad-blockers may cause usability issues to certain users. Many
    websites (especially those that depend on ad revenue, like Forbes.com and Hulu.com)
    detect the presence of ad blockers and request their users to disable them in order to
    continue browsing. If a consumer is not aware that he is running an ad-blocker (and likely
    does not know how to disable one), the consumer may not be able to browse such
    websites.

24. Overall, while the majority of the services provided by Troth Solutions were not
    malicious, consent for the purchase of these services was obtained using a misleading
    infection narrative that is not representative of the true state of the investigator’s
    computer. Indeed, nothing done by the Troth Solutions representatives gave them the
    necessary information to make their diagnoses and recommendations. An analogy for

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   what the representative did would be for a car mechanic to diagnose a car’s faulty brakes
   by inspecting the car’s air conditioning, and then charge the customer for the completely
   unnecessary replacement of his brakes with new brakes.
                                   POP UP Analysis
25. I have developed a custom internet crawler that, on a daily basis, identifies technical
    support scam domains and keeps a record of them in its database. This tool has been in
    operation since September 30, 2015. FTC staff shared with me, on January 12, 2017, a
    list of domains, phone-numbers, and keywords associated with their investigation in
    Troth Solutions.

26. Among the results of my tool, there were two entries for technical support scam popups
    that were located on the domains techquickbooksupport.com and quickbooknumber.com.
    According to WHOIS records, both of these domains are registered by “madhu sethi”
    with an address that I understand from FTC staff is Mr. Sethi’s residence in Boca Raton,
    Florida.

27. My tool was able to identify popups located on these two specific URLs on October 6
    and October 8, 2016:

      http://techquickbooksupport.com/ads-
       popup/index.html?tfn=8554117582&ftfn=(800)-797-5365&a=true
      http://quickbooknumber.com/ads-popup/index.html?tfn=8554117582&ftfn=(800)-
       797-5365&a=true
These domains belong to the owners of Troth Solutions (as identified to me by FTC staff)
and they are hosted on a webserver (IP address: 192.186.236.119) which hosts domains
associated with services owned by the owners of Troth Solutions (e.g., qkontos.com,
trothav.com, trothsolutions.com, applehelp-number.com). In other words, the content hosted
on these websites is fully under the control of the owners of Troth Solutions.
28. The popups that were served from these locations were warning users that their computer
    was breached by “ROOTKIT_TROJAN_HIJACK.EXE”, that their “Windows Defender”
    software was unable to load and that the “health” of their Windows system was “critical.”
    Figure 4 shows a partial reconstruction of what these popups would look like to
    consumers, based on the HTML code that my tool was able to locate and store. The
    warnings contained in these popups are completely false for the following two reasons:

      My tool is running on a Linux operating system with a web browser that only
       pretends to be one running on Windows. The Linux operating system does not
       support the Windows Defender program and it cannot execute .EXE programs.
      By design, web browsers do not expose programmatic interfaces which websites
       could tap in to obtain information about a computer’s filesystem, registry, running
       programs, etc. Therefore, from a technical point of view, websites cannot identify

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          whether a user has a virus running on his computer. They would have to prompt the
          user to download software which would run outside of the browser and retrieve this
          information. This was not done in this case, therefore I can again confidently state
          that the warnings in these popups are fake statements meant to scare a user into
          calling the phone number listed on these webpages.




Figure 4. Reconstruction of what the popups from techquickbooksupport.com and
quickbooknumber.com looked like
   29. The “BSOD” reference in this popup is to something commonly called the “blue screen
       of death.” A “blue screen of death” is normally shown to users of the Windows operating
       system, when the system experiences an error from which it cannot recover. These
       unrecoverable errors are typically associated with faulty drivers and faulty hardware.
       Consumers who have seen these error screens before are likely to mistake this popup as
       an important warning from their operating system and thus act upon it. Note that

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   legitimate “blue screen of death” warnings never include a phone number. They only
   include information that a consumer could write down to later show to a technician who
   is attempting to diagnose the problem that caused the “blue screen of death” warning to
   be showed.

30. In addition to the deceptive messages, the popup pages served from
    techquickbooksupport.com and quickbooknumber.com were using intrusive JavaScript
    techniques to hijack a user’s browser making it near impossible for non-technical users to
    be able to close the popups or navigate to a different website. Whenever users moved
    their mouse, clicked on the page, tried to type, or tried to navigate away, the popup page
    instructed the user’s browser to execute a JavaScript function called “myFunction”. That
    function would create a barrage of alert messages (small dialogue boxes, supported by
    modern browsers, which are meant to communicate something important to users) with
    more fake security messages in an effort to stop users from navigating away and to
    further convince them to call the listed number. Moreover, the same code would attempt
    to constantly open new tabs in a user’s browser to show again the same popup with the
    same warnings. Figure 5 shows part of this code and the sections relevant to fake warning
    messages, the launching of new popups and the calling of this function over and over
    again (launching new warnings and popups every 100 milliseconds). This practice, often
    referred to as “browser hijacking,” is a technique commonly used in “malvertising,” a
    term coined to describe the way computer users are often exposed to multiple attacks,
    including technical support scams, through malware-infected online advertising.




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Figure 5. Part of the JavaScript code of the popup served from techquickbooksupport.com and
quickbooknumber.com. The code includes the type of messages shown to users and the
mechanisms for launching these alerts and popups over and over again.
   31. I am willing to travel within the United States to testify in any court action concerning the
       above-stated matters.


I declare, under penalty of perjury, that the foregoing statement is true and correct.




              4/19/2017
Executed on ____________________              ___________________________________
                                              Nikolaos Nikiforakis




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                                                                Department of Computer Science
                                                                         Stony Brook University

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Curriculum Vitae                                                              www.securitee.org




              Research Interests
Web Security and Privacy, Software Security, Intrusion Detection, Cybercrime


              Employment
  Aug 2014 – Assistant Professor, Department of Computer Science, Stony Brook University.
    Present
  2013–2014 Postdoctoral Researcher, Department of Computer Science, KU Leuven,
            Belgium.

   Jun - Sep Research Visitor, Department of Computer Science, University of California,
        2012 Santa Barbara.


              Education
  2009–2013 Ph.D. in Computer Science,
            Computer Science Department, KU Leuven, Belgium.
       thesis Towards a Secure Web: Critical Vulnerabilities and Client-Side Countermeasures
  supervisors Prof. Wouter Joosen and Prof. Frank Piessens

  2007–2009 M.Sc. in Parallel and Distributed Systems,
            Computer Science Department, University of Crete, Greece.
      thesis Parasitic Storage: Free and globally accessible gigabytes
  supervisor Professor Evangelos Markatos

  2003–2007 B.Sc. in Computer Science,
            Computer Science Department, University of Crete, Greece.
      thesis Handling real-time network data generated by network-monitoring applications
  supervisor Professor Evangelos Markatos




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                Teaching Experience
  Fall   2016   Instructor, CSE509 System Security, Stony Brook University
Spring   2016   Instructor, CSE659 Computer Security Seminar, Stony Brook University
  Fall   2015   Instructor, CSE509 System Security, Stony Brook University
Spring   2015   Instructor, CSE508 Network Security, Stony Brook University
  Fall   2014   Instructor, CSE509 System Security, Stony Brook University
  Fall   2013   Teaching Assistant, Secure Software for Athens 2013, KU Leuven
Spring   2013   Teaching Assistant, Capita Selecta Secure Software, KU Leuven
  Fall   2011   Teaching Assistant, Capita Selecta Secure Software, KU Leuven
  Fall   2010   Teaching Assistant, Capita Selecta Secure Software, KU Leuven
  Fall   2008   Teaching Assistant, CS557 - Secure Systems, University of Crete
Spring 2008 Teaching Assistant, CS455 - Lab for Network Attacks and Defenses, University of
            Crete.
  Fall 2007 Teaching Assistant, CS345 - Operating Systems, University of Crete



                Work Experience
     2014 – As an Assistant Professor at Stony Brook University, I teach security-related
    present courses, advise Ph.D. and M.Sc. students, write and review academic and industry
            grants, write and review papers for the top conferences and journals of my field,
            and participate in administrative activities, such as the reviewing of Ph.D. and
            M.Sc. admissions.

2013 – 2014 As a Postdoctoral Researcher at KU Leuven, I continued the empirical exploratory
            security and privacy research, while coaching young graduate students.

2009 – 2013 During my PhD at KU Leuven, I had the opportunity to successfully coach the
            theses of four Master students, teach the “Hands-on Hacking” module of the Capita
            Selecta Secure Software course, and do research on many areas, relevant to security,
            such as software security, web security, and privacy.

 Jun – Sep I visited Prof. Christopher Kruegel and Prof. Giovanni Vigna for 3 months at the
      2012 University of California, Santa Barbara and worked in the Computer Security Lab
           on web-based device fingerprinting.

2006 – 2009 I worked as a Research Assistant at the Distributed Computing Systems Lab of
            FORTH-ICS in Heraklion. I participated in three EU-funded programs: LOB-
            STER (Large-scale Monitoring of Broadband Internet Infrastructures), MOMENT
            (Monitoring and Measurement in the Next Generation Technologies), and NoAH
            (Network of Affined Honeypots).


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              Grants
  TWC: Small: Combating Environment-aware Malware (2016.09 – 2019.08)
  - PI: Michail Polychronakis, co-PI: Nick Nikiforakis, Sponsor: National Science Foundation,
    Amount: $498,036
 TWC: Small: Emerging Attacks Against the Mobile Web and Novel Proxy Technologies for
 Their Containment (2016.09 – 2019.08)
 - PI: Nick Nikiforakis, co-PI: Nima Honarmand, Sponsor: National Science Foundation, Amount:
   $499,481
  Early Detection of User-impersonating Attackers using Multilayer Tripwires (2016.03 – 2019.02)
  - PI: Nick Nikiforakis, co-PI: Erez Zadok, Sponsor: Office of Naval Research, Amount: $586,215
 TWC: Small: Cross-application and Cross-platform Tracking of Web Users: Techniques and
 Countermeasures (2015.09 – 2018.08)
 - PI: Nick Nikiforakis, co-PI: Long Lu, Sponsor: National Science Foundation, Amount:
   $499,204
  Understanding and defending against technical support scams (2015.07 – 2015.12)
  - PI: Nick Nikiforakis, Sponsor: Cyber Research Institute, Amount: $67,000
  Grant for teaching network security (2015.02)
  - PI: Nick Nikiforakis, Sponsor: Amazon Web Services, Amount: $8,600
  Grant for conducting cloud experiments (2014.02)
  - PI: Nick Nikiforakis, Sponsor: Linode, Amount: $2,000

              Awards
  Distinguished Paper Award at NDSS 2017
  Graduate Teaching Award, Department of Computer Science, Stony Brook University, 2016
  Honorable Mention at PETS 2016
  Best Paper Award at ISC 2014


              Public Service
Program Chair
  Symposium on Electronic Crime Research (eCrime 2017), co-chair with Damon McCoy
  OWASP Application Security Conference, Research Track (OWASP AppSecEU 2015)

Publicity Chair
  20th International Symposium on Research in Attacks, Intrusions and Defenses (RAID 2017)

Member of Program Committees
 24th ACM Conference on Computer and Communications Security (CCS 2017)
 2nd European Workshop on Usable Security (EuroUSEC 2017)
 26th USENIX Security Symposium (USENIX Security 2017)
 14th Conference on Detection of Intrusions and Malware & Vulnerability Assessment (DIMVA
 2017)

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7th ACM Conference on Data and Application Security and Privacy (CODASPY 2017)
25th International World Wide Web Conference (WWW 2017)
2nd IEEE European Symposium on Security and Privacy (EuroS&P 2017)
16th ACM Symposium on Applied Computing (SAC 2017)
32nd Annual Computer Security Applications Conference (ACSAC 2016)
23rd ACM Conference on Computer and Communications Security (CCS 2016)
25th USENIX Security Symposium (USENIX Security 2016)
11th Symposium on Electronic Crime Research (eCrime 2016)
13th Conference on Detection of Intrusions and Malware & Vulnerability Assessment (DIMVA
2016)
6th ACM Conference on Data and Application Security and Privacy (CODASPY 2016)
8th International Symposium on Engineering Secure Software and Systems (ESSoS 2016)
22nd ACM Conference on Computer and Communications Security (CCS 2015)
24th USENIX Security Symposium (USENIX Security 2015)
8th ACM Conference on Security and Privacy in Wireless and Mobile Networks (WiSec 2015)
12th Conference on Detection of Intrusions and Malware & Vulnerability Assessment (DIMVA
2015)
24th International World Wide Web Conference (WWW 2015)
8th European Workshop on System Security (EuroSec 2015)
7th International Symposium on Engineering Secure Software and Systems (ESSoS 2015)
7th European Workshop on System Security (EuroSec 2014)
5th International Conference on Emerging Ubiquitous Systems and Pervasive Member of
Networks (EUSPN 2014)
12th IEEE International Conference on Embedded and Ubiquitous Computing (EUC 2014)
7th IEEE Workshop on Network Measurements (IEEE WNM 2013)
4th International Conference on Emerging Ubiquitous Systems and Pervasive Networks (EUSPN
2013)
OWASP AppSec Europe 2013 - Research Track (AppSec 2013)
6th European Workshop on System Security (EuroSec 2013)
14th IFIP Conference on Communications and Multimedia Security (CMS 2013)
5th European Workshop on System Security (EuroSec 2012)
13th IFIP Conference on Communications and Multimedia Security (CMS 2012)


            Invited Talks
 Mar 2017 CyLab Distinguished Seminar – Dial One for Scam - A Large-Scale Analysis of
          Technical Support Scams
 Jan 2017 Federal Trade Commission, Washington DC – Dial One for Scam - A Large-Scale
          Analysis of Technical Support Scams
 Feb 2016 Messaging, Malware and Mobile Anti-Abuse Working Group – No Honor Among
          Thieves: A Large-Scale Analysis of Malicious Web Shells
 May 2015 International World Wide Web Conference, W3C Track: Web Security Architecture
          – The Pretense of Security

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Oct 2014 Princeton Web Privacy and Transparency Conference – Web-based Device Finger-
         printing
Feb 2014 SecAppDev – Browser fingerprinting (how did we get here?), Leuven, Belgium
Dec 2013 Microsoft Research – Everything you always wanted to know about web-based
         device fingerprinting (but were afraid to ask), Redmond, Washington, US
Nov 2013 November OWASP BeNeLux – Everything you always wanted to know about
         web-based device 2013 fingerprinting (but were afraid to ask), Amsterdam, The
         Netherlands
Jul 2013 SysSec Workshop – Cookieless Monster: Exploring the Ecosystem of Web-based
         Device Fingerprinting, Bochum, Germany
Feb 2013 SecAppDev – Sandboxing JavaScript, Leuven, Belgium
Oct 2012 Web Application Security Seminar Dagstuhl – You are what you include: Large-
         scale analysis of remote JavaScript inclusions, Bochum, Germany
Jul 2011 OWASP Netherlands Chapter – Abusing locality in Shared Web Hosting, Amster-
         dam, The Netherlands
Dec 2010 OWASP BeNeLux – On the Privacy of File Sharing Services, Eindhoven, The
         Netherlands


          Selected Media Coverage
Mar 2017 WIRED – Listen to “Tech Support” Scam Calls That Bilk
         Victims   Out    of   Millions   –   https://www.wired.com/2017/03/
         listen-tech-support-scam-calls-bilk-millions-victims/
Jun 2016 Washington Times – Half the ads on livestreaming sites pose security risks
         to viewers: Report – http://www.washingtontimes.com/news/2016/jun/15/
         half-ads-livestreaming-sites-pose-security-risks-v/
Feb 2016 BBC – Illegal football streams are ’dangerous’, study says – http://www.bbc.com/
         news/technology-35434765
Dec 2015 TechRepublic   –    DDoS     mitigation   may    leave   your    site
         vulnerable          –           http://www.techrepublic.com/article/
         ddos-mitigation-may-leave-your-site-even-more-vulnerable/
Oct 2015 The Register – DDoS defences spiked by CloudPiercer tool - paper –
         http://www.theregister.co.uk/2015/10/08/cloudpiercer_tool_lifts_
         ddos_protection_cloak_from_70_percent_of_sites/
Oct 2015 SC      Magazine      –   CloudPiercer    tool    discloses   DDoS
         defence        providers      –        http://www.scmagazineuk.com/
         cloudpiercer-tool-discloses-ddos-defence-providers/article/444000/
Sep 2015 KrebsOnSecurity     –     With      Stolen     Cards,      Fraudsters
         Shop      to     Drop     –      http://krebsonsecurity.com/2015/09/
         with-stolen-cards-fraudsters-shop-to-drop/


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    Sep 2015 SlashDot – Study:    $1.8 Billion In Reshipping Fraud With Stolen
             Cards Each Year –http://news.slashdot.org/story/15/09/28/2157238/
             study-18-billion-in-reshipping-fraud-with-stolen-cards-each-year
    Feb 2015 World Trademark Review – Groundbreaking typosquatting research reveals true
             scale of the problem – http://www.worldtrademarkreview.com/Blog/Detail.
             aspx?g=59f40171-11fb-4806-a837-2c0b29564681
    Jan 2015 HelpNet Security – Typosquatting abuse of 500 most popular websites analyzed –
             http://www.net-security.org/secworld.php?id=17833
   Dec 2014 ArsTechnica       –       Sites    certified    as        secure     of-
             ten    more     vulnerable     to   hacking,    scientists     find  –
             http://www.arstechnica.com/security/2014/12/sites-certified-as-secure
            -often-morevulnerable-to-hacking-scientists-find/


              Magazine Articles
    Jan 2015 IEEE IT Pro – Protected Web Components: Hiding Sensitive Information in the
             Shadows
   Aug 2014 IEEE Spectrum – Browse at your own risk
   Dec 2013 IEEE Security & Privacy – On the Workings and Current Practices of Web-based
            Device Fingerprinting
   Mar 2011 Hackin9 – Direct Object Reference or, How a Toddler Can Hack Your Web
            Application


              Publications
[1] Oleksii Starov and Nick Nikiforakis. XHOUND: Quantifying the Fingerprintability of Browser
  Extensions. In Proceedings of the 38th IEEE Symposium on Security and Privacy (IEEE S&P),
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[2] Najmeh Miramirkhani, Mahathi Priya Appini, Nick Nikiforakis, and Michalis Polychronakis.
  Spotless Sandboxes: Evading Malware Analysis Systems using Wear-and-Tear Artifacts. In
  Proceedings of the 38th IEEE Symposium on Security and Privacy (IEEE S&P), 2017.

[3] Oleksii Starov and Nick Nikiforakis. Extended Tracking Powers: Measuring the Privacy
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[7] Enrico Mariconti, Jeremiah Onaolapo, Syed Sharique Ahmad, Nicolas Nikiforou, Manuel
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  No Honor Among Thieves: A Large-Scale Analysis of Malicious Web Shells. In Proceedings of
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  It’s Free for a Reason: Exploring the Ecosystem of Free Live Streaming Services. In Proceedings
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  Quantifying the Leakage of PII via Website Contact Forms. In Proceedings of the 16th Privacy
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[11] Tom Van Goethem, Wouter Joosen, and Nick Nikiforakis. The Clock is Still Ticking: Timing
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